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                                         UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF TEXAS
                                               SAN ANTONIO DIVISION
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JARROD STRINGER, NAYELI GOMEZ, JOHN
HARMS, MOVE Texas Civil Fund, and LEAGUE
OF WOMEN VOTERS OF TEXAS
                        Plaintiffs
and
                                                                           Civil No. 5:16-CV-257-OLG
TEXAS DEMOCRATIC PARTY, DCCC, and DSCC                                              [lead case]
                       Intervenor Plaintiffs
V.




RUTH HUGHS, in her official capacity as
Texas Secretary of State, and STEVEN C. McCRAW,                            Civil No. 5:20-CV-46-OLG
in his official capacity as Director of the                                       [consolidated]
Texas Department of Public Safety
                        Defendants

                                                       ORDER

         A preliminary injunction hearing has been set in this matter for January 28, 2020. The parties


must address the following at the preliminary injunction hearing:1


         1.     What facts or law have changed since the claims and issues were decided in Stringer l?2

                a.   Is standing to assert the 2020 claims the only new issue?
                b.   Have Defendants' practices changed since Stringer I?


         2.     Whether each individual, organizational, and associational plaintiff and intervenor plaintiff
                has standing to pursue the declaratory and injunctive relief set forth in their complaints,
                with facts and supporting authority.




'The parties do not need to brief all of these matters prior to the hearing, but must address them as part of their
presentation.

2
 Stringer I refers to the 2016 claims. Unless the Court refers to Stringer I, it is referring to the 2020 claims. The
Interverior Plaintiffs filed their complaint in December 2019, but for ease of reference the Court will refer to all
new claims as the 2020 claims.
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    3.   Whether the parties agree that the Court need only find that one plaintiff/movant has
         standing to proceed with the merits of the preliminary injunction motion.

    4.   If any party claims that the Court cannot rely on the facts already developed in the Stringer I
         record, provide supporting authority.

    5.   Additionally, Defendants must provide the Court with the following:

             a.   If Defendants' practices have changed since Stringer I, describe each change, why it
                  was made, when it was made, and who decided to make such change(s). If no
                  changes occurred, whether there have been any discussions about making changes.3


             b.   Explain who made the decision to make the change to Step 5 of the online process
                  described in paragraph one, page 16, of Plaintiffs' Emergency Application for
                  Preliminary Injunction, why the decision was made, and what Defendant(s) sought
                  to accomplish with this change. Explain why this language in Step 5 of the online
                  process is different than the language contained in DL-14A, DL-43, and DL-64, as
                  reflected on page 13 of Plaintiffs' Emergency Application for Preliminary Injunction.

             c.   Since the inception of online services, the number of persons who, like Jarrod
                  Stringer, have more than once renewed or updated their driver's license online
                  through DPS, answered "yes" to the voter registration/application question or
                  indicated that they wanted to register to vote or update their voter registration as
                  part of the same transaction, and were not simultaneously permitted to do so.

             d.   Since November 2016: the total number of persons who renewed or updated their
                  driver's license online, answered "yes" to the voter registration/application question
                  or indicated that they wanted to register to vote or update their voter registration
                  as part of the same transaction, and were not simultaneously permitted to register
                  to vote or update their voter registration.

            e.    Since November 2016: the number of persons who renewed or updated their
                  driver's license online, answered "yes" to the voter registration/application question
                  or indicated that they wanted to register to vote or update their voter registration
                  as part of the same transaction, were not simultaneously registered to vote or their
                  voter registration was not updated, and are still not registered to vote and/or their
                  voter registration has not been updated as a result.

            f.    For any persons identified in subparagraph e. above, explain whether this is a
                  continuing violation or continuing injury. Provide supporting authority.




Court is referring to intra or inter agency discussions, not discussions with legal counsel.
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         g.   Since November 2016: (i) the number of persons who renewed or updated their
              driver's license in person, indicated that they wanted to register to vote or update
              their voter registration as part of the same transaction, and were registered to vote
              and/or their voter registration was updated as a result of that transaction; and (ii)
              the number of persons who updated their driver's license by mail, indicated that
              they wanted to register to vote or update their voter registration as part of the
              same transaction, and were registered to vote and/or their voter registration was
              updated as a result of that transaction.

         h.   The number of times the Secretary of State has rejected electronic signatures
              submitted by DPS for voter registration purposes based on a finding of fraud, and
              the steps that would be taken to notify the voter if this ever occurred.

         i.   A reasonable estimate of time it would take Defendants to come into full
              compliance with the NVRA provisions in question.

6.   Finally, Plaintiffs must explain the scope of preliminary injunctive relief they are seeking and
     submit a proposed order setting out that relief.

IT IS SO ORDERED this    IJt daVof January,

                                          ORLANDO L. GARCIA
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                                          CHIEF U.S. DISTRICT JUDGE
